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   United States Court of Appeals
                           for the

                  Second Circuit

              UNITED STATES OF AMERICA,

                                                            Appellee,

                           – v. –

                     JOSEPH VALERIO,


                                                     Defendant-Appellant.
              ––––––––––––––––––––––––––––––
    ON APPEAL FROM THE UNITED STATES DISTRICT COURT
         FOR THE SOUTHERN DISTRICT OF NEW YORK


          REPLY BRIEF FOR DEFENDANT-
          APPELLANT JOSEPH VALERIO




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                               INTRODUCTION

      Appellant Joseph Valerio submits the within Reply Brief to address

numerous errors of fact and law in the Government’s Brief.

      In Point I, we show that Application Notes 1 and 3 for U.S.S.G. § 5G1.2

effectively refute the Government’s attempt to distinguish United States v. Dorvee,

616 F.3d 174 (2 Cir. 2010), where a sentencing judge’s confusion regarding the

appropriate Guidelines benchmark or advisory sentence led this Court to remand

for resentencing. In fact, remand for resentencing is warranted here because, as in

Dorvee, the District Court was confused about the appropriate benchmark sentence

for Mr. Valerio.

      In Point II, we explain why the consecutive sentences imposed upon under

Count Fifteen (possession of child pornography) and Count Five (receipt of child

pornography) violate the Double Jeopardy Clause’s prohibition against multiple

punishments for the same offense.

      In Point III, we argue that the same objection/rationale that led the District

Court to dismiss Counts Nine through Thirteen applies to and warrants the

vacation of his conviction on Counts Six, Seven, and Eight.

      In Point IV, we review this Court’s decisions recognizing its authority to

review for plain error the issue of whether Valerio’s convictions and the sentences




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imposed upon Counts Two and Three violate the Double Jeopardy Clause because

they charge essentially the same offense.

        In Point V, we explain why interrogation of Mr. Valerio was custodial

notwithstanding the fact that the interrogation occurred in Valerio’s home.

        In Point VI, we respond to the Government’s efforts to explain away the

overwhelming evidence that Valerio was subjected to a two-step interrogation

process that warrants suppression of statements that Valerio made after he was

finally given Miranda warnings.1

        In Point VII, we respond to the Government’s assertion that there is no

support for Valerio’s objection that the District Court erred by relying on

uncharged assaults and rapes as a basis for imposing a de facto sentence of life

imprisonment.

                                   ARGUMENT

                                     POINT I

             THE GOVERNMENT’S ATTEMPT TO DISTINGUISH
                UNITED STATES v. DORVEE IS REFUTED BY
             APPLICATION NOTES 1 AND 3 FOR U.S.S.G. § 5G1.2

        The Government’s attempt to distinguish United States v. Dorvee, 616 F.3d

174 (2d Cir. 2010) on the ground that Dorvee involved only a single count of

conviction fails.

1
    Miranda v. Arizona, 384 U.S. 436 (1966).

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      In his opening brief at p. 61, Valerio argues (1) the District Court should

have consulted U.S.S.G. § 5G1.1 and § 5G1.2 to ascertain the Guidelines

benchmark or advisory sentence; (2) the District Court failed to do so; and (3) this

error mirrors the mistake that led to a reversal in Dorvee

      In response to this argument, the Government argues that Dorvee “was

convicted of only one count and thus the multiple-count provisions of the

Guidelines did not apply” to Dorvee. Govt’s Brief at pp. 64-65. The Government’s

argument incorrectly assumes that Valerio should be treated differently than

Dorvee because Valerio was sentenced on multiple counts. This argument is

refuted by Application Note 3 to U.S.S.G. § 5G1.2, the very provision which

governs sentencing on multiple counts of conviction.

      Specifically, Note 3 (B) explains that the applicable guideline range on a

specific count may be restricted by the statutorily authorized maximum sentence

“not only in a single-count case, see § 5G1.1, but also in a multiple-count

case.” (emphasis supplied).

      Moreover, Note 3 further provides that “where a statutorily authorized

maximum sentence on a particular count is less than the minimum of the applicable

guideline range, the sentence imposed on that count shall not be greater than the

statutorily authorized maximum sentence on that count. See § 5G1.1(a).” The

same rule applies regardless of whether the defendant is convicted of a single count

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or multiple counts. As noted in our opening brief, the statutory maximum sentence

for Valerio’s most serious crimes of conviction is 30 years. Consequently, 30

years is the correct advisory or benchmark sentence for Valerio.

      The Government suggests that this Court’s decision in United States v.

McLeod, 251 F.3d 78 (2d Cir. 2001) which sets forth a three-step analysis for

imposing a sentence where there are multiple counts of conviction somehow

changes matters. (Govt’s Brief at p. 63). This claim is more than a little peculiar

because the District Court explicitly stated that Valerio’s:

             sentence was not driven by the guidelines in this case.
             Regardless of what the guidelines were, that number is
             not influencing me.

Appellant’s Appendix Volume 2, at A-394.

      In other words, the District Court’s comments place the Government in the

unenviable position of having to argue that the District Court’s sentence comports

with the Guidelines governing sentencing on multiple counts even though the

District Court stated on the record that the Guidelines were not “influencing” the

sentence imposed upon Valerio.

      Furthermore, the 260-year advisory sentence upon which the District Court

ultimately settled does not comport with the guidance provided in Application

Note 1 for U.S.S.G. § 5G1.2, which provides in relevant part:

             Usually, at least one of the counts will have a statutory
             maximum adequate to permit imposition of the total
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            punishment as the sentence on that count. The sentence
            on each of the other counts will then be set at the lesser
            of the total punishment and the applicable statutory
            maximum, and be made to run concurrently with all or
            part of the longest sentence. If no count carries an
            adequate statutory maximum, consecutive sentences are
            to be imposed to the extent necessary to achieve the total
            punishment.

      Not surprisingly, the Probation Department found that in Valerio’s case, the

statutory maximum for the highest crime of conviction was adequate for the

purposes of total punishment. Hence it initially recommended a sentence in the

realm of 30 years.

      Regrettably, the Government misrepresents the facts when it asserts that the

District Court “adopted Valerio’s position that the advisory Guidelines was the

sum of the remaining counts – 260. (GA:70).” Govt’s Brief at p. 36. The

Government’s claim takes out of context a footnote in a sentencing memorandum

filed by defense counsel in response to the Government’s claim in the District

Court that 410 years should be used as a reference point for sentencing.

      Defense Counsel’s reference to 260 years occurs in a footnote in a letter

memorandum – i.e., EDNY Docket No. 147, Sentencing Memorandum

Supplement, Letter of Leonard Lato dated June 6, 2017 (hereinafter “LL”), at 2,

n.2. In footnote 2 of that letter memorandum, defense counsel Lato pointed out:

(1) if certain counts were dismissed because they merged into Count Two and (2)

the remaining counts were stacked, as the Government argued they should be, that
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would produce a “maximum statutory sentence” of 260 years.” LL at 2 & n. 2.

Defense counsel’s observation is by no means a statement that he agreed with the

Government’s sentencing calculations, and it certainly is not an admission by

defense counsel that 260 years was an appropriate advisory sentence or

benchmark; it was merely a criticism of the Government’s sentencing arithmetic.

Furthermore, in the body of his letter, defense counsel Lato argues that the

Probation Department’s recommended sentence of sixty years was too lengthy to

even provide guidance as to what would constitute an appropriate sentence. Thus,

it is simply disingenuous for the Government to claim that defense counsel

advocated a benchmark or advisory sentence of 260 years.

      When Valerio was sentenced on June 6, 2017, the District Court remarked,

“So Mr. Lato, I think correctly figured out the math which is the remaining counts

have 260 years of exposure.” Appellant’s Appendix, Volume 2, at A-359;

Government’s Appendix at GA-70. This District Court’s observation here was an

allusion to footnote 2 in Mr. Lato’s letter memorandum. Thus, the District Court’s

observation in no way establishes that defense counsel advocated 260 years as an

appropriate benchmark or advisory sentence.

      Finally, we note that the District Court’s observation that its sentence was

not influenced by the Guidelines does not excuse or render harmless its failure to

conduct a proper Guidelines analysis. “[A]n incorrect calculation of the applicable

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Guidelines range will taint not only a Guidelines sentence, if one is imposed, but

also a non-Guidelines sentence, which may have been explicitly selected with what

was thought to be the applicable Guidelines range as a frame of reference.” United

States v. Fagans, 406 F.3d 138, 141 (2d Cir.2005). Accord, Dorvee, 616 F.3d at

181-182.

                                    POINT II

               THE GOVERNMENT HAS MISUNDERSTOOD
               AND/OR MISREPRESENTED THE HOLDINGS
           IN THIS COURT’S DECISIONS IN HESTER AND ANSON

      The sentence imposed under Count Fifteen (possession of child

pornography) violates the Double Jeopardy Clause because it punishes Valerio a

second time for conduct encompassed by Count Five (receipt of child

pornography). In response, the Government asserts that two unreported cases –

United States v. Hester, 674 F. App’x 31, (2d Cir. 2016), cert. denied, 137 S.Ct.

2203 (2017) and United States v. Anson, 304 F. App’x 1, 5-6 (2d Cir. 2008) – show

this claim to be meritless. Govt’s Brief at p. 78. Clearly, the Government has

misunderstood or misstated the holdings in these cases.

      In neither Hester nor Anson did this Court reject the proposition that

possession of child pornography is – or can be – a lesser included offense of the

crime of receiving child pornography.     To the contrary, in Hester this Court

assumed the correctness of this proposition. Moreover, although this Court has not

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yet squarely held that possession of child pornography is a lesser included offense

of receiving child pornography, this Court has stated that it finds persuasive the

decisions in which sister circuits have reached that conclusion. United States v.

Polouizzi, 564 F.3d 142, 159 (2d Cir. 2009)(finding “persuasive” the reasoning in

United States v. Davenport, 519 F.3d 940, 943-44 (9th Cir. 2008) and United

States v. Miller, 527 F.3d 54, 71-72 (3rd Cir. 2008)).

        In Anson, as in Hester, this Court also assumed arguendo that the possession

of child pornography is a lesser-included offense of receiving it. Anson’s trial

attorney, like Valerio’s, did not request a jury instruction that might have

prevented the jury from convicting Anson of possession based upon the same

images that were the basis for his conviction for receipt of child pornography.

Nevertheless, this Court remanded the case and directed the District Court to

reconsider or explain its decision to impose a consecutive sentence on the

possession count. Anson, 304 Fed. Appx. 1 at *6, 2008 U.S. App. LEXIS 22563 at

**13.

        In Valerio’s case, there is no plausible explanation for the consecutive

sentences imposed upon Counts Five and Fifteen.          Indeed, the Government’s

attempt to save the conviction on the possession count by arguing that different

photographs underlay the conviction for receiving child pornography (Govt’s Brief

at p. 81-82) does not withstand scrutiny.

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       In essence, the Government argues that the receipt count (Count Five) is

premised upon images of Kalichenko’s daughter while the possession count (Count

Fifteen) is based upon images of Valerio’s niece on an SD card found in Valerio’s

home. This argument fails because this theory was not presented to the jury.

      To the contrary, in its closing argument, the Government urged the jury to

convict Valerio of Count Fifteen solely on the basis of the images of KS

(Kalichenko’s daughter) found on his computer:

             And how do you know that he possessed it? Again, he
             asked for it; he got it; paid for it. It was all on the
             computer, and it was on the defendant's one on
             January 28, 2014, the day of the first search warrant.
             That's when the computer was taken. That's what the
             indictment says as the date that the defendant possessed
             the child pornography involving both of the young girls.
             (T986). (emphasis supplied).

      Note that the highlighted language specifies that the Government urged a

conviction on the basis of images found on Valerio’s computer. Conspicuously

absent from this exhortation is any mention of the SD card.

      The Government now asserts that the sentence – “That's what the indictment

says as the date that the defendant possessed the child pornography involving both

of the young girls.” – is somehow a reference to the SD card containing images of

Valerio’s niece. See Govt’s Brief at p. 81. However, no reasonable juror could

construe this sentence as a reference to the SD card, especially since the indictment

does not mention an SD card or his niece.      Instead, the indictment contains the
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nonspecific, indeed anonymous, reference to “depictions involving the use of one

or more minors.” Appellant’s Appendix Volume 1, at A-35.

      The Government also asserts that its opening statement informed the jury

that the images on the SD card could be the basis for conviction on Count Fifteen.

However, the excerpt from its opening statement quoted in the Government’s brief

also fails to show that the jury was told it could convict Valerio of possession

based upon his possession of the SD card containing images of his niece. Again,

conspicuously absent from the excerpt quoted in the Government’s brief is any

mention of the SD card:

               For the defendant’s actions involving his niece here in
               Smithtown, he is charged with sexually exploiting a
               child. And the defendant is also charged with possessing
               child pornography.

Govt’s Brief at p. 82, quoting GA-25.

      Finally, Count Fifteen cannot be sustained on the basis of a theory never

submitted to the jury via a proper jury instruction. Chiarella v. United States, 445

U.S. 222, 236-37 (1980). Ambiguous suggestions in the indictment and the

prosecutor's opening and closing remarks are no substitute for the proper

instructions.” Chiarella, 445 U.S. at 239, 100 S.Ct. at 1120 (Brennan, J.,

concurring).




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                                    POINT III

                      COUNTS SIX, SEVEN, AND EIGHT
                         SHOULD BE VACATED

      Defense counsel raised the issue of multiplicity numerous times below. In

one such discussion, defense counsel Lato stated:

             Before you leave, Your Honor, with respect to the
             multiplicity that you touched upon, if there is a
             conviction from the defense standpoint, we don’t need to
             go into it; assuming conviction on the substantive counts,
             the attempts occur within the same time frame would
             have to be merged for sentencing. No reason to go into
             that.

Appellant’s Appendix, Volume 1, at A-168-169.

      The District Court replied that if Valerio “was convicted of the substantive

count and the attempt counts, I would not be sentencing on the attempts, just the

substantive.” Moreover, the District Court stated that it would address defense

counsel’s concerns if the jury’s verdict made it necessary for him to do so.

Appellant’s Appendix, Volume 1, at A-168-169.

      The above quoted discussion, of course, precludes the Government’s present

argument that defense counsel waived multiplicity and/or Double Jeopardy Claims.

In an abundance of caution, however, we note that this Court will “deem an error

‘plain’ where it is clear from the record that failure to object below was not the

result of a strategic decision but rather “mere inadvertence or incompetence of trial

counsel.” United States v. Brown, 352 F.3d 654, 665 (2d Cir. 2003); United States
                                                                                  11
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v. Bayless, 201 F.3d 116, 127, 128 & n. 2 (2d Cir. 2000). In addition, this Court

will find plain error if the error is so “egregious and obvious as to make the trial

judge and prosecutor derelict in permitting it, despite the defendant's failure to

object." Brown, at 664-665, quoting United States v. Gore, 154 F.3d 34, 42-43 (2d

Cir. 1998).

      The same objection/rationale that led the District Court to dismiss Counts

Nine through Thirteen applies to and warrants the vacation of his conviction on

Counts Six, Seven, and Eight. No strategic advantage could be gained by not

moving for their dismissal. Furthermore, the record is clear that defense counsel as

well as the District Court were aware of the issues of multiplicity and double

punishment. Indeed, at sentencing even the Government expressed concern as to

whether the sentence the District Court ultimately imposed would stand if on

appeal counts were vacated or deemed merged.           See Appellant’s Appendix,

Volume 2, at A-358 (Government requests that dismissed counts should be

reinstated if “some other count falls by the wayside”). In any event, the fact that

Six, Seven, and Eight were not dismissed is so “egregious and obvious” an error as

to make the trial judge “derelict in permitting it.” Id. Consequently, those counts

should be vacated and dismissed.




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                                     POINT IV

      THE COURT MAY REVIEW FOR PLAIN ERROR VALERIO’S
        ARGUMENTS REGARDING COUNTS TWO AND THREE

      The Government incorrectly asserts that the proposition that Section 2251(a)

and Section 2251(c) are essentially the same crime is not reviewable as plain error

because “the law in this Circuit remains silent on the issue.” Govt’s Brief at 78.

However, as this Court observed in United States v. Brown, 352 F.3d at 664:

             1) It is not always necessary for the party alleging plain
             error to cite a circuit or Supreme Court precedent
             precisely on point.

             2) Error can be plain even where uniformity among the
             circuits, or among state courts, is lacking.

             3) Error can be “plain” under well-settled legal principles
             even in absence of “legal precedents.” (i.e. legal
             opinions).

      Thus, Brown establishes that the absence of an opinion from this Court or

another Court of Appeals does not preclude this Court from deciding whether

Counts Two or Three should be vacated.

      The Government also attempts to defeat Valerio’s Double Jeopardy Claim

by pointing out differences in the elements of 18 U.S.C. § 2251(a) and 18 U.S.C.

§ 2251(c) that have no significance here. All that the Government’s discussion

establishes is that there are at least two different ways a person can violate




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18 U.S.C. § 2251. However, that does not mean that subsection (a) and subsection

(c) create two different offenses.

      Given the factual allegations against Valerio, the Government could easily

have chosen to proceed against him under § 2251(a) alone. In fact, since all of the

conduct attributed to him occurred within the United States, Valerio could not have

raised a claim that he could not be prosecuted under 18 U.S.C. § 2251(a) because

he committed no acts within the territorial jurisdiction of the United States.

      Conversely, because the Government alleged that Valerio was Kalichenko’s

co-conspirator and/or accomplice and her criminal activity occurred overseas, her

conduct (which the Government imputed or attributed to Valerio) would have

satisfied 18 U.S.C. § 2251(c)’s “requirement” that the prohibited conduct take

place outside the United States.

      To recapitulate, Counts Two and Three should not be treated as charging

two separate and distinct crimes just because the statute provides for two different

ways to violate 18 U.S.C. § 2251. Under the Government’s theory of prosecution,

Counts Two and Three are essentially the same offense, and are premised upon the

same conduct, and the same victim. Consequently, a conviction and sentence upon

both of these counts implicates the Double Jeopardy Clause’s prohibition against

multiple prosecutions for the same offense.




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                                      POINT V

        THE MERE FACT THAT INTERROGATION OCCURRED
    IN VALERIO’S HOME DOES NOT RENDER IT NONCUSTODIAL

      Normally, one’s home is a far less intimidating environment than an

interview room in a police station. However, the presence of nearly a dozen law

enforcement agents is not a familiar sight in anyone’s home or other place of

residence. Nor do searches or interviews by law enforcement occur in homes with

such frequency as to be an unremarkable occurrence. Indeed, none of this Court’s

decisions regarding questioning in a suspect’s home deny the fact that the usually

familiar and reassuring environment of a person’s home can be transformed – as it

was Valerio’s case – into a police dominated atmosphere that warranted Miranda

warnings.

      Although not all interference with an individual’s freedom of movement

during the execution of a search warrant will suffice to render questioning

custodial, when the loss of autonomy exceeds what is necessary to protect the

agents executing the warrant, the questioning becomes custodial. Cf. United

States v. Ali, 68 F.3d 1468, 1473 (2d Cir. 1995)(that agents were engaged in a

limited stop of the sort authorized under Terry v. Ohio, 392 U.S. 1 (1968) was

“irrelevant” to this Court’s determination of whether Miranda warnings were

required).



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        The Government ignores the obvious fact that isolation of Valerio in his

dining room so that he could review e-mails and videos in Troyd’s possession was

not a protective measure for the benefit of the agents who were searching his

home.     Moreover, the Government’s suggestion that Agent Troyd had e-mail

transcripts and video in his possession simply to prepare him to conduct a search of

Valerio’s home (Govt’s Brief at p. 52) is specious because Troyd himself did not

search the premises but devoted himself exclusively to exercising control over

Valerio and questioning him.

        Both the Government and the District Court also ignore the fact that Valerio

was never explicitly informed that he could leave. Compare, United States v.

Badmus, 325 F.3d 133, 139 (2d Cir. 2003) (because the agents informed the

defendant and his wife that they were not under arrest and could ask the agents to

leave at any time, a reasonable person would have understood that he or she was

not in custody).

        No person in Valerio’s circumstances – i.e., a person who has been told that

his home is being searched for evidence of child pornography– would conclude

that he was free to go on his merry way. To the contrary, even an innocent person

would fear that leaving his home in such circumstances would cause law

enforcement officers to treat him as a law breaker fleeing prosecution, or that his




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departure would be regarded as evidence of consciousness of guilt. Michigan v.

Summers, 452 U.S. 692, 701 (1981).

       Moreover, even when “a suspect has been told by the police, clearly and

unequivocally, that he is not under arrest and can leave at any time, but the

contemporaneous conduct of the police has the effect of nullifying that advice, the

advice ‘will not carry the day.’” Buck v. State, 181 Md.App. 585, 626, 956 A.2d

884 (2008), quoting Wayne LaFave, Criminal Procedure (3rd ed. 2007)§ 66(d) at

737 n. 57. The occupation of his home by almost a dozen law enforcement agents –

including the three agents who sat in such close proximity to Valerio in his dining

room that he could not avoid or ignore their questions and Troyd’s “request” that

Valerio speak to him – clearly communicated to Valerio, as well as any other

reasonable person in Valerio’s circumstances, that Troyd wanted Valerio to stay

put.

       In summary, no reasonable person in the circumstances in which Valerio

found himself, would have concluded that he was free to refuse Troyd’s

“invitation” to speak about the crimes that had resulted in the issuance of a search

warrant for Valerio’s home.      Valerio was subjected to custodial questioning

without first being given Miranda warnings.




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                                   POINT VI

  THE RECORD CONCLUSIVELY DEMONSTRATES THAT VALERIO
   WAS SUBJECTED TO A TWO-STEP INTERROGATON PROCESSS

      The Government posits the patently unbelievable claim that “nearly an hour

of questioning passed before it dawned upon Special Agent Troyd that “Valerio

had incriminated himself.” Govt’s Brief at p. 55.     Actually, the pre-Miranda

questioning lasted much longer than an hour. Troyd acknowledged in his

suppression hearing testimony that a little over an hour and one-half had passed

before Valerio received Miranda warnings. Appellant’s Appendix Volume 1, at

A-92. This testimony is no doubt accurate since Troyd also testified that agents

entered Valerio’s home at approximately 6:00 a.m. and the time noted on the

advice of rights form Valerio eventually signed is 7:55 a.m. Appellant’s Appendix

Volume 1, at A-54 and A-116.

       Could Troyd who, by the Government’s own account had in his possession

e-mail exchanges between Valerio and Kalichenko concerning child pornography

as well as videos, have been so slow-witted that he would have had to question

Valerio for ninety minutes before he (i.e., Troyd) realized that Valerio was

implicated in criminal activity? Obviously, the Government’s explanation for the

lengthy (90-minute) questioning that occurred before Valerio received Miranda

warnings defies credulity.



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      More importantly, assuming that Troyd was as slow-witted as the

Government now suggests, there is no exception to Miranda that permits delaying

the warnings until after police have satisfied themselves that they have probable

cause to arrest the person they are questioning. United States v. Capers, 627 F.3d

470, 480-481 (2d Cir. 2010).

      The Government also states disingenuously that after Troyd’s epiphany

concerning the existence of probable cause to arrest Valerio, Troyd’s questioning

“changed in scope and was for a limited duration.” Govt’s Brief at 56. Actually,

the post-warning questioning concerned the same topics that were covered in the

pre-warning questioning.    One of the two e-mails about which Valerio was

questioned after he received the Miranda warnings was the same e-mail about

which he had been questioned before he received Miranda warnings. The other

e-mail came from the same time frame. If the post-warning questioning was

“limited in scope,” it was only because Troyd had obtained all of the information

he wanted before he finally advised Valerio of his rights pursuant to Miranda.




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                                     POINT VII

             THE DISTRICT JUDGE HAS NO AUTHORITY
             TO PUNISH VALERIO FOR UNCHARGED CRIMES
           FOR WHICH HE HAS NOT BEEN CHARGED, TRIED, AND
                 CONVICTED BY A JURY OF HIS PEERS

      The Government incorrectly assumes that judicial precedent uniformly and

unreservedly supports the District Court’s imposition of a de facto life sentence

largely on the basis of uncharged assaults and rapes. However, as then Circuit

Judge Gorsuch has noted, it is “far from certain” whether the Constitution allows a

district judge to “increase a defendant's sentence (within the statutorily authorized

range) based on facts the judge finds without the aid of a jury or the defendant's

consent.” United States v. Sabillon-Umana, 772 F.3d 1328, 1331 (10th Cir. 2014)

citing Jones v. United States, 135 S. Ct. 8 (2014)(Scalia, J. dissenting from denial

of certiorari)(arguing that even if a judge's factual finding does not alter the proper

statutory range, the finding is impermissible if the final sentence would be

substantively unreasonable in absence of the finding). See also United States v.

Briggs, 820 F.3d 917, 922 (8th Cir. 2016)(admitting that there is room for debate),

cert. denied, 137 S. Ct. 617 (2017); United States v. Cassius, 777 F.3d 1093, 1099

n.4 (10th Cir.)(calling argument about judge-found sentencing facts “precluded by

binding precedent” but citing Jones), cert. denied, 135 S. Ct. 2909 (2015).

      Indeed, among federal jurists there is a growing recognition of an inherent

conflict between (1) the line of cases cited in the Government’s Brief concerning
                                                                                    20
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the scope of information a sentencing judge may consider;2 and (2) Fifth and Sixth

Amendment provisions that provide a person cannot be convicted and punished for

criminal behavior until after a jury has found him guilty of that behavior beyond a

reasonable doubt.

      As one member of the Court of Appeals for the District Columbia has noted,

the whole reason the Constitution imposes a strict beyond a reasonable doubt

standard:

              is that it would be constitutionally intolerable, amounting
              ‘to a lack of fundamental fairness,’ for an individual to be
              convicted and then ‘imprisoned for years on the strength
              of the same evidence as would suffice in a civil case.’ In
              re Winship, 397 U.S. 358, 364, 90 S. Ct. 1068, 25 L. Ed.
              2d 368 (1970). In other words, proof beyond a reasonable
              doubt is what we demand from the government as an
              indispensable precondition to depriving an individual of
              liberty for the alleged conduct.

United States v. Bell, 808 F.3d 926, 930 (D.C. Cir. 2015) (Millett, C.J. concurring

in the denial of rehearing en banc).


2
   See Govt’s Brief at pp. 58-59 citing this Court’s opinion in United States v.
Ulbricht, 858 F.3d 71 (2d Cir. 2017) as precedent supporting the District Court’s
use of uncharged rapes and assaults to impose a more severe sentence. Ironically,
Ulbricht may eventually be the vehicle that vindicates Mr. Valerio’s argument that
the District Court erred by relying on uncharged crimes. Justice Ginsburg – who
joined Justice Scalia’s dissent in Jones – granted Ulrich’s motion to file an
untimely certiorari petition that raises the very same issue that Mr. Valerio has
raised in this appeal. See Ulbricht v. United States, No. 17-950 filed (U.S. Dec. 22,
2017), at pp. 24-32, available at http://www.scotusblog.com/case-
files/cases/ulbricht-v-united-states.

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       The very structure of the Constitution, moreover, imposes limits on the

authority of a judge to sentence a person upon facts not found by a jury. As Justice

Scalia stated in Blakely v. Washington, 542 U.S. 296, 305-306 (2004), the right to a

jury trial is:

                 a fundamental reservation of power in our constitutional
                 structure. Just as suffrage ensures the people's ultimate
                 control in the legislative and executive branches, jury
                 trial is meant to ensure their control in the judiciary.

Once sentencing judges are permitted to impose punishment on the basis of facts

not adjudicated by a jury, the jury ceases to function as the check against the

expansion of judicial authority that the Framers intended. Blakely, 542 U.S. at

305-306.

       The Government’s focus on case law – specifically decisions like United

States v. Ulbricht, 858 F.3d 71, 128 (2d Cir. 2017), petition for cert. filed (U.S.

Dec. 22, 2017) and the cases cited therein – also ignores or overlooks ample

historical precedent for the jury’s role in sentencing.

       As one jurist3 has noted:

                 from 1800 to 1900, juries imposed sentences in
                 noncapital cases in about half of all the states. A handful
                 of other states permitted juries in noncapital cases to
                 make sentencing recommendations. Thus, for the entire
                 nineteenth century, sentencing schemes with no input
                 from the jury were the American exception, not the rule.

3
 When the article cited herein was published, the author of the article was a judge
on the District Court of the State of Colorado.
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Morris B. Hoffman, The Case for Jury Sentencing, 52 Duke Law
Journal 951, 964 (2003) (footnotes omitted).

Expanded fact-finding by sentencing judges is largely a “vestigial historical

accident,” an integral part of an indeterminate sentencing regimen introduced in

the 1920s and 1930s in which judges had far more discretion than they do in the

current age of mandatory minimum sentences and various guideline or structured

sentencing regimes. Hoffman, The Case for Jury Sentencing, 52 Duke Law Journal

at 965.

      In other words, sentencing laws and philosophies have changed. As a result

of, or in reaction to these changes, the Supreme Court has in cases such as Blakely

rediscovered the role that the Framers intended jurors to play in administering

criminal justice, including at the sentencing or penalty phase of a trial. The

precedents that the Government cites (Govt’s Brief at pp. 59-60) and upon which

the District Court relied are an anachronism.

      As Judge Kavanaugh observed in his concurring opinion in Bell, 808 F.3d at

927-928:

             Taken to its logical conclusion, the Blakely approach
             would require a jury to find beyond a reasonable doubt
             the conduct used to set or increase a defendant's sentence,
             at least in structured or guided-discretion sentencing
             regimes. A judge could not rely on acquitted conduct to
             increase a sentence, even if the judge found the conduct
             proved by a preponderance of the evidence. A judge
             likewise could not rely on uncharged conduct to increase
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            a sentence, even if the judge found the conduct proved by
            a preponderance of the evidence.

      Because Mr. Valerio’s sentence is premised upon uncharged conduct

adjudicated not by a jury but a judge employing a preponderance of the evidence

standard (instead of beyond a reasonable doubt as the Fifth Amendment requires),

this Court should find that sentence fundamentally unfair and procedurally and

substantively unreasonable.

                                CONCLUSION

      FOR THE REASONS STATED IN POINTS V AND VI HEREIN,
         AND POINTS I AND II IN VALERIO’S OPENING BRIEF,
     THIS COURT SHOULD REVERSE VALERIO’S CONVICTION
      AND SUPPRESS THE STATEMENTS ELICITED FROM HIM
      DURING THE SEARCH OF HIS HOME. FOR THE REASONS
   STATED IN POINTS I AND VII HEREIN, AND POINTS III AND IV,
        IN VALERIO’S OPENING BRIEF, THIS COURT SHOULD
  VACATE THE DE FACTO LIFE SENTENCE IMPOSED ON VALERIO
     AND REMAND THIS MATTER TO A DIFFERENT JUDGE FOR
           RESENTENCING. FOR THE REASONS STATED IN
             POINTS II, III, AND IV HEREIN AND POINT V
        IN VALERIO’S OPENING BRIEF, THIS COURT SHOULD
  TO VACATE THE SENTENCES IMPOSED UPON COUNTS THREE,
   SIX, SEVEN, EIGHT, AND FIFTEEN AND REMAND TO ANOTHER
     JUDGE WITH INSTRUCTIONS TO DISMISS THOSE COUNTS.

  Date: June 18, 2018                      Respectfully Submitted,

                                           /s/ Louis M. Freeman

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                                                                               24
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  UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT


CAPTION:

United States ______
-----�        of America v.
                                                                         CERTIFICATE OF SERVICE
Joseph Valerio                                                           Docket Number: 17-2371 er




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